Case 3:16-md-02738-MAS-RLS Document 10981-1 Filed 11/01/19 Page 1 of 4 PageID:
                                 101731



                  UNITED STATES DISTRICT COURT
                     DISTRICT OF NEW JERSEY
 __________________________________
                                    )
 IN RE JOHNSON & JOHNSON            )
                                    )
 TALCUM POWDER PRODUCTS             )
                                    )
 MARKETING, SALES PRACTICES, ) MDL NO. 16-2738 (FLW) (LHG)
                                    )
 AND PRODUCTS LIABILITY             )
                                    )
 LITIGATION                         )
 __________________________________ )

    SUPPLEMENT TO THE JANUARY 31, 2018 AGREED ORDER AND
       STIPULATION REGARDING THE JOHNSON & JOHNSON
        DEFENDANTS’ PRODUCTION OF TALCUM POWDER
                PRODUCTS AND TALC SAMPLES

       WHEREAS, on October 18, 2019, Lot #22318RB of Johnson’s® Baby

 Powder was voluntarily recalled (“Recall”);

       WHEREAS, the J&J defendants have identified samples of Johnson’s®

 Baby Powder and milled talc relating to the voluntary Recall that have been

 retained in the ordinary course of business and have represented that portions of

 such samples are being tested in accordance with ordinary business practices

 following a product recall (“Recall Investigation”);
Case 3:16-md-02738-MAS-RLS Document 10981-1 Filed 11/01/19 Page 2 of 4 PageID:
                                 101732



       WHEREAS, any remaining portions of such samples1 (“Recall Samples”)

 should be handled pursuant to the January 31, 2018 Agreed Order and Stipulation

 Regarding the Johnson & Johnson Defendants’ Production of Talcum Powder

 Products and Talc Samples (“Agreed Order”);2

       IT IS THEREFORE ORDERED AS FOLLOWS:

       1.      The J&J defendants shall notify plaintiffs if they determine that

 testing in connection with the Recall Investigation would deplete any sample being

 tested such that additional material would not be available to plaintiffs for testing,

 at which time the parties shall promptly meet and confer to discuss an appropriate

 manner for handling, and raise any disputed issues with this Court;

       2.      The J&J defendants shall provide this Court with an inventory of

 Recall Samples in their possession, custody and control (“Recall Inventory”)

 within ten (10) days of completing the testing portion of the Recall Investigation;

       3.      The Recall Inventory to be filed with this Court shall supplement the

 inventories of historical Talcum Powder Product samples filed with the Agreed

 Order, and the samples listed on the Recall Inventory shall be subject to the

 representations, qualifications, provisions and conditions of the Agreed Order,

 except as to scheduling provisions and as otherwise stated herein;

 1
       Excluding 10 grams that must be retained pursuant to legal requirements.
 2
       All terms used herein shall have the same meaning as defined in the Agreed Order.



                                                      2
Case 3:16-md-02738-MAS-RLS Document 10981-1 Filed 11/01/19 Page 3 of 4 PageID:
                                 101733



       4.     All Recall Samples shall be delivered to the Laboratory within ten

 (10) days of the submission of the Recall Inventory;

       5.     The J&J defendants shall provide plaintiffs with an inventory of

 Johnson’s® Baby Powder from Lot #22318RB that has been returned in

 connection with the voluntary Recall (“Return Samples”);

       6.     A preliminary inventory of Return Samples will be provided within

 thirty (30) days of the entry of this Supplement to the Agreed Order and

 supplemented periodically as additional bottles of Johnson’s® Baby Powder from

 Lot #22318RB are returned;

       7.     The parties shall meet and confer to discuss whether Return Samples

 will be divided for testing, and if so, an appropriate protocol for the selection of

 such samples. Any disputed issues with respect to the Return Samples shall be

 raised with this Court; and

       8.     If the parties agree to divide Return Samples, they shall be handled

 pursuant to the Agreed Order.




                                            3
Case 3:16-md-02738-MAS-RLS Document 10981-1 Filed 11/01/19 Page 4 of 4 PageID:
                                 101734



       SO ORDERED, this 1st day of November, 2019.




                                          /s/ Joel A. Pisano___________________
                                          Joel A. Pisano, U.S.D.J. (Ret.)
                                          Special Master




                                      4
